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                   11
                                                 IN THE UNITED STATES DISTRICT COURT
                   12
                                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                   13
                   14         FARMERS GROUP, INC,                         Civil Action No. CV11-02296 JFW (FFMx)
                   15                                                     The Honorable John F. Walter
                                            Plaintiff,
                   16                                                     FINAL JUDGMENT AND
                                       v.                                 PERMANENT INJUNCTION UPON
                   17                                                     CONSENT
                              KEVIN CHARLES DAHLKE, an
                   18         individual; and KEVIN CHARLES
                              DAHLKE dba KEVIN DAHLKE                     Complaint Filed:           March 17, 2011
                   19         INSURANCE BROKERAGE,                        Discovery Cut-Off:         Jan. 3, 2012
                              Defendants,                                 Pre-Trial Conf. Date:      March 30, 2012
                   20                      Defendants.                    Trial Date:                April 10, 2012
                   21
                              KEVIN CHARLES DAHLKE;
                   22         KEVIN CHARLES DAHLKE dba
                              KEVIN DAHLKE INSURANCE
                   23         BROKERAGE,
                   24                       Third Party Plaintiffs,
                   25                  v.

                   26         UNITED FARMERS AGENTS
                              ASSOCIATION, INC.; ROES 1-5,
                              inclusive,
                   27
                                            Third Party Defendants.
                   28
D OCU M ENT P R E PA R E D    90715456.1
 O N R E CY CL E D P A PE R
                                                   FINAL JUDGMENT AND PERMANENT INJUNCTION UPON CONSENT
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                      1        FINAL JUDGMENT AND PERMANENT INJUNCTION UPON CONSENT
                      2                Plaintiff Farmers Group, Inc. (“FGI”) having filed a Complaint in this action
                      3       charging defendants Kevin Charles Dahlke and Kevin Charles Dahlke dba Kevin
                      4       Dahlke Insurance Brokerage (hereinafter collectively referred to as “Dahlke”) with
                      5       trademark infringement, unfair competition, false advertising, cyberpiracy, and
                      6       unjust enrichment, and the parties desiring to resolve the controversy between them,
                      7       and without admitting fault but in order to avoid the expense, time and cost of
                      8       further litigation have reached a settlement of which there is a condition precedent
                      9       that Dahlke consent to injunctive relief; it is
                   10                  ORDERED, ADJUDGED AND DECREED as between the parties hereto
                   11         that
                   12                  1.    This Court has jurisdiction over the parties to this action; and has
                   13         jurisdiction over the subject matter hereof pursuant to 15 U.S.C. § 1121, 28 U.S.C.
                   14         §§ 1331, 1367, and 1338.
                   15                  2.    FGI owns a valid, incontestable trademark in the term “Farmers”
                   16         (hereinafter the “Farmers Mark”). FGI and its affiliated companies have used the
                   17         Farmers Mark in commerce since 1927 to advertise, market, promote and sell
                   18         insurance products, and on June 13, 1995, FGI registered the Farmers Mark on the
                   19         Principal Register of the United States Patent and Trademark Office, Reg. No.
                   20         1,899,192.
                   21                  3.    Dahlke is permanently restrained and enjoined as follows:
                   22                        (a)   Dahlke shall immediately cease all use and permanently refrain
                   23         from any further or future use of “Farmers” or “Farmers Agents” or “Farmers
                   24         Agency” within the title and/or name designation for Dahlke’s insurance products,
                   25         including the Errors & Omissions insurance policy underwritten by Lexington
                   26         Insurance Company (hereinafter “the Policy”), with the exception that Dahlke shall
                   27         not be prohibited from designating the Policy as the “UFAA Errors & Omissions
                   28
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 O N R E CY CL E D P A PE R
                                                    FINAL JUDGMENT AND PERMANENT INJUNCTION UPON CONSENT
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        Plan sponsored by the United Farmers Agents Association” and/or the “UFAA
        E&O Plan.” Further, Dahlke shall not be prohibited from using “Farmers” or
        “Farmers Agents” or “Farmers Agency” when used to describe or refer to the
        Farmers Sponsored E&O plan.
                     (b)   Dahlke shall immediately cease all use and permanently refrain
        from any further or future use of the farmersagentscoverage.com domain name, and
        any other domain name incorporating “Farmers,” and transfer the same to FGI.
        Notwithstanding the foregoing, Dahlke shall not be prohibited from using and/or
        maintaining and/or providing a link to the UFAA website.
                     (c)   Dahlke shall at all times be required to display the disclaimer
        “The products/plans advertised herein are not sponsored, approved, or endorsed by,
        or otherwise affiliated with, Farmers Group, Inc.” on any advertising for any
        insurance plan or product targeted to current, former, or prospective Farmers
        agents, and in a font the same size as the majority of the text on such advertisement.
                     (d)   Dahlke shall immediately cease all use and permanently refrain
        from any further or future use of language stating or implying that any insurance
        plan or product offered by Dahlke is “preferred”(as the term is commonly
        understood in Merriam-Webster’s dictionary) by Farmers agents or agencies.
        Notwithstanding the foregoing, Dahlke may describe the plan or product as a
        “preferred risk” as that underwriting term is commonly understood within the
        insurance industry to refer to an insurance plan or product for which applicants
        must qualify to meet certain underwriting guidelines.
                     (e)   Dahlke may not register, attempt to register, or maintain any
        registration or application for any trademark, trade name, domain name, or trade
        designation for any insurance plan or product containing “Farmers,” with the
        exception that Dahlke shall not be prohibited from designating the Policy as the
        “UFAA Errors and Omissions Plan sponsored by the United Farmers Agents

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                            FINAL JUDGMENT AND PERMANENT INJUNCTION UPON CONSENT
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        Association”” and/or th
                              he “UFAA E&O Plann.” Notwithhstanding tthe foregoiing,
        Dahlke shalll not be pro
                               ohibited frrom using aand/or maiintaining aand/or provviding a
        lin
          nk to the UFAA
                    U    web
                           bsite.
                 4.   Nothing contained
                              c         herein
                                        h      shalll be deemeed an admiission by D
                                                                                  Dahlke of
        an
         ny intention
                    nal wrongd
                             doing.
                 5.   The Partiees shall bear their ow
                                                     wn attorneyys’ fees andd costs asssociated
        with this Acction.
                 6.   This Finaal Judgmen
                                        nt and Perm
                                                  manent Injuunction Uppon Consennt shall be
        deeemed to have
                   h    been served
                             s      upo
                                      on Dahlke aat the time of its execcution by tthe Court.


        Dated: _Maarch 28, 20
                            012                         ___________________________________
                                                        JOHN F. W  WALTER  R
                                                        Judge of tthe United States Disstrict Courtt




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